Filed 07/09/19                         Case 19-21640                               Doc 72



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Debora Leigh Miller-   Case No.: 19-21640 - B - 13
           Zuranich
                                              Docket Control No. PLC-3
                                              Date: 07/09/2019
                                              Time: 1:00 PM

           Matter: [50] - Motion/Application to Confirm Chapter 13 Plan [PLC-
           3] Filed by Debtor Debora Leigh Miller-Zuranich (ltrf)

           Judge: Christopher D. Jaime
           Courtroom Deputy: Danielle Mobley
           Reporter: Not Recorded
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           None
           Respondent(s):
           None
           _____________________________________________________________________
                                       CIVIL MINUTES


           Motion Denied as moot, Resolved without Oral Argument
           See Findings of fact and conclusions of law below
           The court entered an order on June 21, 2019, requiring the Debtor to
           convert her case to a Chapter 11 within 10 days from the entry of the
           court’s order, otherwise the case will be dismissed on the Chapter 13
           Trustee’s ex parte motion. The Debtor failed to convert her case by
           the deadline of July 1, 2019; however, the Debtor did file a Notice
           of File Documents in Converted Case on July 3, 2019. No ex parte
           motion to dismiss was filed by the Trustee.
           The court’s decision is to deny as moot the motion to confirm plan.
           The court will enter a minute order.
